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                                                                      Exhibit A
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        IN THE CIRCUIT COURT OF TENNESSEE FOR THE THIRTIETH JUDICIAL
                            DISTRICT AT MEMPHIS

 BRANDON HOWARD,                                       )
                                                       )
                         Plaintiff,                    )
                                                       )
                                                       )    Civil Action No:
 v.
                                                       )    CT-2963-21
 RJ CORMAN RAILROAD GROUP, LLC,                        )
                                                       )
                         Defendant.                    )

                          NOTICE OF FILING NOTICE OF REMOVAL

           NOTICE IS HEREBY GIVEN that, pursuant to the provisions of 28 U.S.C. §§ 1441 and

 1446, Defendant R.J. Corman Railroad Group, LLC (“R.J. Corman”), has on the 3rd day of

 September, 2021, filed with the Clerk of the United States District Court for the Western District

 of Tennessee, a Notice of Removal to remove Case No. CT-2963-21 from the Circuit Court of

 Tennessee for the Thirtieth District at Memphis, to the United States District Court for the

 Western District of Tennessee. A copy of the Notice of Removal is attached hereto as Exhibit

 “1.”

           Respectfully submitted this the 3rd day of September, 2021.

                                               /s/ Alexandria Rhoades
                                               Ken Bryant (TN BPR #12582)
                                               Alexandria Rhodes (TN BPR #37024)
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                                               GROUP, LLC




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 3rd day of September, 2021, I electronically filed a true
 and correct copy of the foregoing with the Clerk of the Court using the electronic notification
 system which will send notification of such filing to the following:

 Eugene A. Laurenzi (TN BPR # 009528)
 Lauren Hutton (TN BPR # 37844)
 Godwin, Morris, Laurenzi & Bloomfield, P.C.
 Morgan Keegan Tower
 50 North Front Street, Suite 800
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 Memphis, TN 38173-0290

 Counsel for Plaintiff Brandon Howard


                                              /s/ Alexandria Rhoades




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